U.S. DISTRICT COURT
UNITEDSSEATESSDROITRAGT COURT

EASTERN DISTRICT OF WISCONSIN
2) Ja =9 A 1: $3
UNITED STATES OF AMERICAS | EPHEN C. DRIES
CLERK
Plaintiff,

Case No. 19-CR-96

Vv. [18 U.S.C. §§ 401(3); 1589%(a), 1589(b),
1590(a), 1590(b), 1594(a), 1594(b), 1592(a),
1028(a)(2), 1028(f), 1349, 1512(b)(1); 8
US.C. §§ 1324(a)(1)(A)(iii), and (B)(i)]

SAUL GARCIA,

SAUL GARCIA, JR.,

DANIEL GARCIA,

CONSUELO GARCIA, and

MARIA REMEDIOS GARCIA-OLALDE,

Defendants.

 

SUPERSEDING INDICTMENT

 

COUNT ONE
(Forced Labor Conspiracy)

 

THE GRAND JURY CHARGES THAT:
Beginning in or about July 2016 and continuing through November 10, 2016, in the
State and Eastern District of Wisconsin, and the State and Middle District of Georgia and
elsewhere,
SAUL GARCIA,
SAUL GARCIA, JR.,

DANIEL GARCIA,
CONSUELO GARCIA, and

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MARIA REMEDIOS GARCIA-OLALDE
did knowingly and willfully combine, confederate, conspire and agree with each other
and others known and unknown to the grand jury to commit offenses against the United
States as set forth in 18 U.S.C.§ 1589, specifically:

(a) To provide and obtain the labor and services of fourteen adult victims, all of
whom are male Mexican nationals and whose identities are known to the
grand jury, hereinafter referred to as AV-1 through AV-17, by means of
serious harm and threats of serious harm to AV-1 through AV-17;

(b) To provide and obtain the labor and services of AV-1 through AV-17, by
means of the abuse and threatened abuse of law and legal process; and

(c) To provide and obtain the labor and services of AV-1 through AV-17, by
means of a scheme, plan and pattern intended to cause AV-1 through AV-17
to believe that, if they did not perform such labor and services, they would
suffer serious harm.

All in violation of Title 18, United States Codes, Sections 1589(a) and 1594(b).

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COUNT TWO
(Trafficking with respect to Forced Labor)

THE GRAND JURY FURTHER CHARGES THAT:
Beginning in or about July 2016 and continuing through November 10, 2016, in the
State and Eastern District of Wisconsin, the State and Middle District of Georgia, and

elsewhere,

SAUL GARCIA,
SAUL GARCIA, JR., and
DANIEL GARCIA
did knowingly recruit, harbor, transport, provide and obtain, and did attempt to
knowingly recruit, harbor, transport, provide and obtain, AV-1 through AV-17, male
Mexican nationals, whose identities are known to the grand jury, for labor and services
in violation of Title 18, United States Code, Chapter 77, that is, forced labor in violation

of Title 18, United States Code, Section 1589.

In violation of Title 18, United States Code, Sections 1590, 1594, and 2.

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. COUNT THREE
(Financial Benefit from a Venture Involving Forced Labor)

THE GRAND JURY FURTHER CHARGES THAT:

Beginning in or about July 2016 and continuing through November 10, 2016,
within the State and Eastern District of Wisconsin and the State and Middle District of
Georgia,

SAUL GARCIA,
SAUL GARCIA, JR.

DANIEL GARCIA, and

CONSUELO GARCIA
did financially benefit by knowingly receiving things of value, from participation in a
venture which engaged in the providing and obtaining of labor and services by AV-1
through AV-17, by means of serious harm and threats of serious harm to AV-1 through
AV-17; the abuse and threatened abuse of law and legal process; and by means of a
scheme, plan, and pattern intended to cause AV-1 through AV-17 to believe that, if they

did not perform such labor and services, they would suffer serious harm.

In violation of Title 18, United States Code, Sections 1589(b), 1594(a), 1594(b), and

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COUNT FOUR
(Document Servitude)}

THE GRAND JURY FURTHER CHARGES THAT:
Beginning in or about July 2016 and continuing through November 10, 2016,
within the State and Eastern District of Wisconsin and elsewhere,
SAUL GARCIA,
SAUL GARCIA, JR.,
DANIEL GARCIA, and
MARIA REMEDIOS GARCIA-OLALDE
knowingly attempted to and did conceal, remove, confiscate, and possess the actual and
purported passports of AV-1 through AV-17, in the course of a violation of Title 18,
United States Code, Section 1589; with intent to violate Title, 18, United States Code,
Section 1589, and to prevent and restrict and attempt to prevent and restrict, without
lawful authority, AV-1 through AV-17’s liberty to move and travel, in order to maintain
the labor and services of AV-1 through AV-17, when AV-1 through AV-17 were victims

of a severe form of human trafficking.

In violation of Title 18, United States Code, Sections 1592(a) and 2.

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COUNT FIVE
(Conspiracy to Commit Fraud in Foreign Labor Contracting)

THE GRAND JURY FURTHER CHARGES THAT:
1. Beginning in or about February 2016 and continuing through November 10,
2016, in the State and Eastern District of Wisconsin, and the State and Middle District of
Georgia, and elsewhere,
SAUL GARCIA,
SAUL GARCIA, JR.,
DANIEL GARCIA, and
CONSUELO GARCIA
did knowingly and with intent to defraud, combine, conspire, confederate, and agree
with others known and unknown to the grand jury, to commit offenses against the United
States, that is, to recruit, solicit, and hire persons from outside of the United States for
purposes of employment in the United States by means of materially false and fraudulent
pretenses, representations and promises regarding that employment in violation of Title
18, United States Code, Section 1351(a).
2. To accomplish the goals of the conspiracy, DANIEL GARCIA filed a false
DOL Form 9142 and a false DHS Form J-129; to wit, the DOL Form 9142 and DHS Form
1-129 subscribed as true that the H-2A visa workers would only work in the State of
Georgia, when defendants knew that the H-2A workers would be illegally transported

from Georgia to Wisconsin to work on farms located in the Eastern District of Wisconsin.

All in violation of Title 18, United States Code, Section 1349

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COUNT SIX
(Alien Harboring for Financial Gain)

 

THE GRAND JURY FURTHER CHARGES THAT:
Beginning in or about July 2016, and continuing through November 10, 2016, in
the State and Eastern District of Wisconsin, and elsewhere
SAUL GARCIA,
SAUL GARCIA, JR.
DANIEL GARCIA,
CONSUELO GARCIA, and
MARIA REMEDIOS GARCIA-OLALDE
knowingly and in reckless disregard of the fact that aliens, namely AV-1 through AV-17,
male Mexican nationals, remained in the United States in violation of law, did knowingly
conceal, harbor, and shield from detection such aliens in buildings and other places for
the purpose of commercial advantage and private financial gain.

In violation of Title 8, United States Code, Section 1324(a)(1)(A)(iii), and (B)(@), and

Title 18, United States Code, Section 2.

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COUNT SEVEN
(Transfer of Fraudulent Identification Documents)

THE GRAND JURY FURTHER CHARGES THAT:
In or about July 2016, in the State and Middle District of Georgia, and the State and
Eastern District of Wisconsin,
SAUL GARCIA,
SAUL GARCIA, JR.
DANIEL GARCIA, and
CONSUELO GARCIA
did knowingly transfer identification documents and false identification documents that
appeared to be issued by and under the authority of the United States; that is, false and
fraudulent lawful permanent resident cards and false and fraudulent social security cards
for AV-1 through AV-17 using false and fraudulent names, knowing that such documents

were produced without lawful authority.

In violation of Title 18, United States Code, Sections 1028(a)(2), 1028(f), and 2.

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COUNT EIGHT
(Obstruction of Labor Trafficking Investigation)

THE GRAND JURY FURTHER CHARGES THAT:
In or about September of 2018 through October of 2018, in the State and Middle
District of Georgia,

SAUL GARCIA, and
MARIA REMEDIOS GARCIA-OLALDE

knowingly and intentionally attempted to obstruct, obstructed, and in any way interfered
and prevented the enforcement of Title 18, United States Code, Section 1590, to wit, the
defendants attempted to withhold and falsify evidence in an official proceeding, that is,
a grand jury proceeding in the Eastern District of Wisconsin.

All in violation of Title 18, United States Code, Sections 1590(b) and 2.

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COUNT NINE
(Witness Tampering)

THE GRAND JURY FURTHER CHARGES THAT:

In or about October 2018, in the State and Middle District of Georgia, and in the
State and Eastern District of Wisconsin,

SAUL GARCIA,

did knowingly attempt to corruptly persuade AV-13, a male Mexican national whose
identity is known to the grand jury, with the intent to influence, delay, and prevent the
testimony of AV-13 in an official proceeding, that is, a grand jury proceeding in the
Eastern District of Wisconsin.

In violation of Title 18, United States Code, Section 1512(b)(1).

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COUNT TEN
(Witness Tampering)

THE GRAND JURY FURTHER CHARGES THAT:

In or about October 2018, in the State and Middle District of Georgia, and in the
State and Eastern District of Wisconsin,

SAUL GARCIA,

did knowingly attempt to corruptly persuade AV-14, a male Mexican national whose
identity is known to the grand jury, with the intent to influence, delay, and prevent the
testimony of AV-14 in an official proceeding, that is, a grand jury proceeding in the
Eastern District of Wisconsin.

In violation of Title 18, United States Code, Section 1512(b)(1).

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COUNT ELEVEN
(Contempt of Court)

THE GRAND JURY FURTHER CHARGES THAT:

1. On August 1, 2019, a Court of the United States, that is, the Honorable
William Duffin, United States Magistrate Judge, sitting in the Eastern District of
Wisconsin in Case Number 19-CR-96, did order SAUL GARCIA, JR. to have no direct or
indirect contact with E.T.Q.

2. On August 4, 2019, in the State and Eastern District of Wisconsin, and
elsewhere,

SAUL GARCIA, JR.,
did willfully and knowingly disobey said order in that he contacted E.T.Q by sending a
friend request to E.T.Q.’s Facebook account.

All in violation of Title 18, United States Code, Section 401(3).

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COUNT TWELVE
(Contempt of Court)

THE GRAND JURY FURTHER CHARGES THAT:

1. On August 1, 2019, a Court of the United States, that is, the Honorable
William Duffin, United States Magistrate Judge, sitting in the Eastern District of
Wisconsin in Case Number 19-CR-96, did order SAUL GARCIA, JR. to have no direct or
indirect contact with M.L.G.

2. On August 4, 2019, in the State and Eastern District of Wisconsin, and
elsewhere,

SAUL GARCIA, JR.,
did willfully and knowingly disobey said order in that he contacted M.L.G. by sending a
friend request to M.L.G.’s Facebook account.

All in violation of Title 18, United States Code, Section 401(3).

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COUNT THIRTEEN
(Contempt of Court)

THE GRAND JURY FURTHER CHARGES THAT:

1. On August 1, 2019, a Court of the United States, that is, the Honorable
William Duffin, United States Magistrate Judge, sitting in the Eastern District of
Wisconsin in Case Number 19-CR-96, did order SAUL GARCIA, JR. to have no direct or
indirect contact with P.H.H.

2. On August 4, 2019, in the State and Eastern District of Wisconsin, and
elsewhere,

SAUL GARCIA, JR.,
did willfully and knowingly disobey said order in that he contacted P.H.H. by sending a
friend request to P.H.H.’s Facebook account.

All in violation of Title 18, United States Code, Section 401(3).

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COUNT FOURTEEN
(Contempt of Court)

THE GRAND JURY FURTHER CHARGES THAT:

1. On August 1, 2019, a Court of the United States, that is, the Honorable
William Duffin, United States Magistrate Judge, sitting in the Eastern District of
Wisconsin in Case Number 19-CR-96, did order SAUL GARCIA, JR. to have no direct or
indirect contact with D.V.C.

2. On August 5, 2019, in the State and Eastern District of Wisconsin, and
elsewhere,

SAUL GARCIA, JR.,
did willfully and knowingly disobey said order in that he contacted D.V.C. by sending a
friend request to D.V.C.’s Facebook account.

All in violation of Title 18, United States Code, Section 401(3).

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COUNT FIFTEEN
(Contempt of Court)

THE GRAND JURY FURTHER CHARGES THAT:

1. On August 1, 2019, a Court of the United States, that is, the Honorable
William Duffin, United States Magistrate Judge, sitting in the Eastern District of
Wisconsin in Case Number 19-CR-96, did order SAUL GARCIA, JR. to have no direct or
indirect contact with S.R.H.

2. On August 5, 2019, in the State and Eastern District of Wisconsin, and
elsewhere,

SAUL GARCIA, JR,
did willfully and knowingly disobey said order in that he contacted S.R.H. by sending a
friend request to S.R.H.’s Facebook account.

All in violation of Title 18, United States Code, Section 401(3).

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COUNT SIXTEEN
(Contempt of Court}

THE GRAND JURY FURTHER CHARGES THAT:

1. On August 1, 2019, a Court of the United States, that is, the Honorable
William Duffin, United States Magistrate Judge, sitting in the Eastern District of
Wisconsin in Case Number 19-CR-96, did order SAUL GARCIA, JR. to have no direct or
indirect contact with J.H.H.

2. On August 5, 2019, in the State and Eastern District of Wisconsin, and
elsewhere,

SAUL GARCIA, JR.,
did willfully and knowingly disobey said order in that he contacted J.H.H. by sending a
friend request to J.H.H.’s Facebook account.

All in violation of Title 18, United States Code, Section 401(3).

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COUNT SEVENTEEN
Contempt of Court

THE GRAND JURY FURTHER CHARGES THAT:

1. On August 1, 2019, a Court of the United States, that is, the Honorable
William Duffin, United States Magistrate Judge, sitting in the Eastern District of
Wisconsin in Case Number 19-CR-96, did order SAUL GARCIA, JR. to have no direct or
indirect contact with J.R.O.

2. On August 19, 2019, in the State and Eastern District of Wisconsin, and
elsewhere,

SAUL GARCIA, JR,
did willfully and knowingly disobey said order in that he contacted J.R.O. by sending a
friend request to J.R.O.’s Facebook account..

All in violation of Title 18, United States Code, Section 401(3).

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Forfeiture Notice

1. Upon conviction of one or more of the offenses in violation of Title 18,
United States Code, Sections 1589, 1590, or 1592, set forth in Counts One through Four
and Eight of this Indictment, the defendant or defendants shall forfeit to the United
States of America, under Title 18, United States Code, Section 1594:

a. Any property, real or personal, involved in, used, or intended to be
used to commit or to facilitate the commission of the offense or
offenses of conviction, and any property traceable to such property;
and

b. Any property, real or personal, constituting or derived from any
proceeds that the defendant obtained, directly or indirectly, as a
result of the offense or offenses of conviction.

The property to be forfeited includes, but is not limited to:

a. The real property located at 108 Tallokas Trail, Moultrie Georgia;

b. At least $47,873.43 currently being held for potential forfeiture in the
trust account of a Wisconsin law firm. with the initials K.H.& K.;

C. A sum of money equal to the proceeds that the defendant obtained,
directly or indirectly, as a result of the offense or offenses of

conviction.

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2. Upon conviction of the offense of conspiracy to commit fraud in foreign
labor contracting, in violation of Title 18, United States Code, Section 1349, set forth in
Count Five of this Indictment, the defendant or defendants shall forfeit to the United
States of America, under Title 18, United States Code, Section 981(a)(1)(C) and Title 28,
United States Code, Section 2461(c), any property, real or personal, which constitutes or
is derived from proceeds traceable to the offense, including but not limited to, at least
$47,873.43 currently being held for potential forfeiture in the trust account of a Wisconsin
law firm with the initials K.H.&K. The property to be forfeited includes, but is not limited
to, asum of money equal to the proceeds derived from the offense.

5. Upon conviction of the alien harboring for financial gain offense in violation
of Title 8, United States Code, Section 1324, set forth in Count Six of this Indictment, the
defendant shall forfeit to the United States, under Title 8, United States Codes, Section
1324(b), and Title 18, United States Code, Section 982(a)(6): (A) any conveyance, including
any vessel, vehicle, or aircraft used in the commission of the offense, and (B) any
property, real or personal -- (i) that constitutes, or is derived from or is traceable to, the
proceeds obtained directly or indirectly from the commission of the offense, or (ii) that
was used to facilitate, or was intended to be used to facilitate, the commission of the
offense. The property to be forfeited includes, but is not limited to, asum of money equal

to the proceeds obtained directly or indirectly from the commission of the offense,

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including but not limited to, at least $47,873.43 currently being held for potential
forfeiture in the trust account of a Wisconsin law firm with the initials K-H.&K.

5, Upon conviction of the transfer of fraudulent identification documents
offense, in violation of Title 18, United States Code, Section 1028, set forth in Count Seven
of this Indictment, the defendant shall forfeit to the United States of America, under Title
18, United States Code, Section 982(a)(2)(B), any property constituting, or derived from,
proceeds that the defendant obtained, directly or indirectly, as a result of the offense; and
under Title 18, United States Code, Section 1028(b)(5) and (h), any personal property used
or intended to be used to commit the offense and any illicit identification documents and
document-making implements. The property to be forfeited includes, but is not limited
to, a sum of money equal to the proceeds that the defendant obtained from the offense.

6. If any of the property described above, as a result of any act or omission by
a defendant: cannot be located upon the exercise of due diligence; has been transferred
or sold to, or deposited with, a third person; has been placed beyond the jurisdiction of
the Court; has been substantially diminished in value; or has been commingled with other
property which cannot be subdivided without difficulty, pursuant to Title 21, United
States Code, Section 853(p), as incorporated by Title 28, United States Code, Section
2461(c), the United States of America shall be entitled to forfeiture of substitute property,
including but not limited to, the following:

a. The real property located at 108 Tallokas Trail, Moultrie, Georgia;

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b. The real property located at 180 Tallokas Trail, Moultrie, Georgia;
C. The real property located at 295 Edwards Street, Moultrie, Georgia;

d. The real property located at 743 Old Norman Park Road, Norman Park,

€. The real property located at 1740 4th Street, SE, Moultrie, Georgia

f. The real property located at parcel number C054A 006 Dorminey Road
Moultrie, Georgia.

g. The real property located at 200 E. 10th Street, Adel, Georgia.

h. The real property located at 129 Old Sardis Church Road, Moultrie,

i. The real property located at 146 Ewer Road, Moultrie, Georgia.

j. The real property located at 340 Newsom Road, Moultrie, Georgia.

k, The real property located at 309 N. College Street, Sparks, Georgia.

L The real property located at 611 S. Hutchinson Avenue, Adel, Georgia.
m. The real property located at 936 Joiner Road, Adel, Georgia.

n. The real property located at 6550 MJ Taylor Rd., Hahira, Georgia.

O. The real property located at 2267 Ione Road, Pavo, Georgia.

p- A 2012 International Durastar 4300 Box Truck with Georgia license plate

number EMW179 and vehicle identification number IHTMMAAN?2?CH450604.

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q. A 2010 Hino 338 box truck with Georgia license plate number EMW177
and vehicle identification number 5PVNV8JV4A4S51520.

r. A 201] International Durastar 4400 truck with Georgia license plate
number EMW178 and vehicle identification number IHTMKAAN6BH327828.

S. A 2017 Ford F150 Supercrew truck with Georgia license plate RHV7930
and vehicle identification number 1FTEW1EGOHFB17084.

t. A 2014 GMC Sierra 1500 pickup truck with Georgia license plate number
PSI2961 and vehicle identification number 3GTU2VEC6EG156946.

u. A 2014 Chevy Silverado pickup truck and Georgia license plate number
BZF8316 and vehicle identification number 3GCUKREC5EG309971.

Vv. A 2018 GMC Sierra Denali 2500 pickup truck with Georgia license plate
number RIR8189 and vehicle identification number 1GT12UEY5JF119925.

w. A 2015 Ford F150 Supercrew pickup truck with Georgia license plate
RAG0135 and vehicle identification number 1FTEW1EF2FFC87144.

X. A 2015 Dodge Durango SXT SUV with Georgia license plate RLJ2352
and vehicle identification number 1C4RDHAG1FC937842.,

y- A 2016 Ford F150 pickup truck with Georgia license plate RAG0355 and
vehicle identification number 1FTEW1EFOGFA82956.

Z. A 2014 Ford E350 van with Georgia license plate RBI3964 and vehicle

identification number 1FBSS3BLIEDA00587.

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aa. A 2017 Ford F250 pickup truck with Georgia license plate RJB9399 and
vehicle identification number 1FT7W2BT8HED64049.

bb. A 2017 Ford F150 pickup truck with Georgia license plate RHV7931 and
vehicle identification number 1FTEW1EFXHFA21244.

ce. A 2017 Ford F250 pickup truck with Georgia license plate RKC7379 and
vehicle identification number 1FT7W2BT7HEC84046.

dd. A 2017 Ford F250 pickup truck with Georgia license plate RKH6428 and

vehicle identification number 1FT7W2BT4JEB03877.

A TRUE BILL:

 

( LPEIRS

Date: +4 feoz )

 

MATTHEW’D. KRUEGER
United States Attorney

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